Case 3:16-md-02738-MAS-RLS Document 29164-5 Filed 02/29/24 Page 1 of 3 PageID:
                                 173965                                 Ex. 2




                Exhibit 2
Case 3:16-md-02738-MAS-RLS Document 29164-5 Filed 02/29/24 Page 2 of 3 PageID:
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 February 28, 2024

 VIA EMAIL

 Michelle A. Parfitt
 Ashcraft & Gerel, LLP
 1825 K Street NW, Suite 700
 Washington, D.C. 20006
 (202) 335-2600
 mparfitt@ashcraftlaw.com

        Re:     Case No. 16-md-2738 (MAS) (RLS)

 Dear Ms. Parfitt:

 This letter identifies issues for discussion during our meet and confer on the subpoena you
 issued on or about February 15, 2024 to PricewaterhouseCoopers LLP (“PwC”). Defendants
 Johnson & Johnson and LLT Management LLC (collectively, “J&J”) plan to file a motion to
 quash the PwC subpoena and for a protective order on the basis that responsive
 communications and documents are protected work product and subject to the attorney-client or
 other privileges, and that documents subject to the subpoena are not relevant to the above-
 referenced action. As a result, any requirement for PwC to search for and identify responsive
 documents would impose an undue burden and expense, not only on PwC, but also on J&J,
 and for no viable purpose.

 As you know, the PwC subpoena seeks “communications between J&J, its internal and external
 advisors and PwC” regarding J&J’s “contingent liability for J&J’s talcum powder products,”
 including “the process for removing said talc liability from its balance sheet (or consolidated
 balance sheet).” PwC Subpoena Schedule A at 4. All of these communications are protected
 from disclosure. There are no independent theories of relevance that can support disclosure of
 any responsive, non-protected, non-privileged information. Without waiving additional
 objections applicable to the PwC subpoena, J&J objects to the subpoena on these grounds and
 on the basis of undue burden and expense.

 During our scheduled meet and confer discussion, we are prepared to consider any articulation
 of relevance the Plaintiffs Steering Committee might be able to identify, as well as any
 explanation the PSC is able to provide for how the documents it has sought could be
 discoverable and not subject to work product or privilege protection.

 We look forward to our discussion later today.
Case 3:16-md-02738-MAS-RLS Document 29164-5 Filed 02/29/24 Page 3 of 3 PageID:
                                 173967                                 Ex. 2




 Sincerely,




 Steve Brody
 Counsel for Defendants Johnson & Johnson
 and LLT Management LLC

 cc:    Susan Sharko, Esquire
